Case 2:24-cv-01192-OEM-JMW             Document 61       Filed 08/22/24      Page 1 of 2 PageID #:
                                             1438

                                                                                          305 Madison Avenue
                                                                                          New York, NY 10165
                                                                                              T: 212-922-1080
                                                                                              F: 212-949-8255

                                                                                                Paul S. Hugel
                                                                                                      Partner
                                                                                            hugel@clayro.com


                                                      August 22, 2024

 Via ECF
 Hon. Orelia E. Merchant
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re:    Styleline Studios Int’l Ltd v. Litvack
        24-cv-01192-OEM-JMW

 Dear Judge Merchant:

        We represent defendant/counterclaim plaintiff Jay Litvack in the above-referenced
 matter. We write with respect to the Court’s order issued this afternoon holding that the filing of
 Litvack’s amended counterclaim was untimely and therefore procedurally improper.

        F.R.C.P. Rule 15(a)(1)states that

                A party may amend its pleading once as a matter of course no later than:

                (A) 21 days after serving it, or

                (B) if the pleading is one to which a responsive pleading is required,
                21 days after service of a responsive pleading or 21 days after
                service of a motion under Rule 12(b), (e) or (f), whichever is earlier.

 Subparagraph (A) governs pleadings for which no responsive pleading is required, while
 subparagraph (B) governs pleadings which require a response. 3 Moore’s Federal Practice –
 Civil §§ 15.11 and 15.12. 1 As Litvack’s counterclaim is a pleading “to which a responsive
 pleading is required” its amendment as of right is governed by subparagraph (B).

 1
   “A party may amend its pleading once as a matter of course no later than 21 days after serving
 it. This simple, 21-day deadline applies to pleadings that do not require a responsive pleading—
 generally, this means an answer, including an answer to the original complaint, an answer to a
 designated counterclaim, an answer to a crossclaim, or an answer to a third-party complaint. If
 the pleading is one that does require a responsive pleading, a more complex time limit applies.” 3
 Moore's Federal Practice - Civil § 15.11
Case 2:24-cv-01192-OEM-JMW             Document 61        Filed 08/22/24      Page 2 of 2 PageID #:
                                             1439
 Hon. Orelia E. Merchant
 August 22, 2024
 Page 2


         Pursuant to Rule 15(a)(1)(B), “Service of either a responsive pleading or a motion under
 Rule 12(b), (e), or (f) will begin a 21-day period within which an amendment as a matter of
 course is permitted.” 3 Moore's Federal Practice - Civil § 15.12. No responsive pleading has
 been filed by the counterclaims defendants, but counterclaim defendants served motions under
 Rule 12(b) and (e) on July 31, 2024. Litvack’s 21-day period to amend the counterclaim as of
 right therefore ran from August 1 to until August 21, 2024.2

         Litvack filed his amended counterclaim on August 21, 2024, the last day of the 21 day
 period to amend as a matter of course. “The court has no discretion to deny a timely amendment
 made as a matter of course.” 3 Moore's Federal Practice - Civil § 15.10.

        Given the above, it appears to us that the Court’s order of this afternoon was the result of
 a “mistake arising from oversight or omission” which can be corrected under F.R.C.P. Rule 60(a)
 without the need for a motion.

         If the Court disagrees and still believes that Litvack’s amended counterclaim was not
 timely filed under Rule 15(a)(1), and that he is required to seek leave to file the amended
 counterclaim, we would ask that the Court stay the briefing schedule currently in place for the
 pending motions to dismiss the original counterclaim so that the parties can file briefs after the
 operative pleading has been identified.

                                                       Very truly yours,



                                                       Paul Hugel

 cc: All counsel of record (via ECF)




 2
   In computing any time period under the F.R.C.P “When a period is stated in days . . . exclude
 the day of the event that triggers the period.”. F.R.C.P. Rule 6(a)(1)(A)
